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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 ELLAWEASE EARLS,
                                                    CIVIL ACTION
 Plaintiff,

 v.                                                 COMPLAINT 1:18-cv-06341

 CHICAGO MUNICIPAL EMPLOYEES
 CREDIT UNION; JPMORGAN CHASE                       JURY TRIAL DEMANDED
 BANK, N.A., d/b/a Chase Auto Finance;
 SPECIALIZED LOAN SERVICING LLC;
 WELLS FARGO BANK, N.A.;
 EQUIFAX INFORMATION SERVICES,
 LLC; TRANSUNION, LLC and EXPERIAN
 INFORMATION SOLUTIONS, INC.,


 Defendants.

                                         COMPLAINT

        NOW COMES Ellawease Earls (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd., complaining of the Defendants, Chicago Municipal Employees Credit Union

(“CMECU”), JPMorgan Chase Bank, N.A., d/b/a Chase Auto Finance (“Chase”), Specialized

Loan Servicing LLC (“SLS”), Wells Fargo Bank, N.A. (“Wells Fargo”), Equifax Information

Services, LLC (“Equifax”), TransUnion, LLC (“TransUnion”) and Experian Information

Solutions, Inc. (“Experian”), (collectively, “Defendants”) as follows:

                                    NATURE OF THE ACTION

        1.     Plaintiff brings this action seeking redress for violations of the Fair Credit

Reporting Act (“FCRA”) pursuant to 15 U.S.C. §1681 et seq.




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                                     JURISDICTION AND VENUE

       2.        Subject matter jurisdiction is conferred upon this Court by the FCRA pursuant to

15 U.S.C. §1681 et seq., 28 U.S.C. §§1331 and 1337, as this action arises under the laws of the

United States.

       3.        Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Plaintiff resides in

this District and all of the events or omissions giving rise to the claims occurred in this District.

                                               PARTIES

       4.        Plaintiff is a consumer and natural person over 18-years-of-age who, at all times

relevant, resided in the Northern District of Illinois.

       5.        Defendant Chicago Municipal Employees Credit Union (“CMECU”) is a not-for-

profit member-owned financial cooperative with its principal place of business located at 18 S.

Michigan Avenue, 10th Floor, Chicago, Illinois 60603. CMECU provides financial benefits,

including consumer loans, to its members. CMECU is a furnisher of information to the major credit

reporting agencies, including Equifax.

       6.        Defendant JPMorgan Chase Bank, N.A., d/b/a Chase Auto Finance (“Chase”), is a

foreign corporation with its principal place of business located at 270 Park Avenue, New York,

New York 10017. Chase is engaged in the business of extending auto loans to consumers,

including consumers in the State of Illinois. Chase is a furnisher of information to the major credit

reporting agencies, including Equifax, TransUnion, and Experian.

       7.        Defendant Wells Fargo Bank, N.A. (“Wells Fargo”) is a mortgage company and

banking institution with its principal place of business located at 101 North Phillips Avenue, One

Wachovia Center, Sioux Falls, South Dakota 57104. Wells Fargo is engaged in the business of

extending mortgage loans to consumers, including consumers in the State of Illinois. Wells Fargo



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is a furnisher of information to the major credit reporting agencies, including Equifax, TransUnion,

and Experian.

        8.      Defendant Specialized Loan Servicing LLC (“SLS”) is a foreign corporation with

its principal place of business located at 8742 Lucent Boulevard, Suite 300, Highlands Ranch,

Colorado 80129. SLS is a creditor, lender, and servicer of mortgage loans, offering services to

consumers across the country, including consumers in the State of Illinois. SLS conducts business

in the State of Illinois and has a registered agent located in Illinois. SLS is a furnisher of

information to the major credit reporting agencies, including Equifax and TransUnion.

        9.      Defendant Equifax Information Services, LLC is a Delaware limited liability

company with its principal place of business in Atlanta, Georgia. Equifax is regularly engaged in

the business of assembling, evaluating, and disbursing information concerning consumers for the

purpose of furnishing consumer reports and credit files to third parties bearing on a consumer’s

credit worthiness, credit standing, and credit capacity on a nationwide basis, including in the State

of Illinois.

        10.     Defendant TransUnion is a Delaware limited liability corporation with its principal

place of business located in Chicago, Illinois. TransUnion is in the business of compiling and

maintaining files relating to consumers’ credit information bearing on a consumer’s credit

worthiness, credit standing, or credit capacity, and provides consumer reports to third parties.

        11.     Defendant Experian is a corporation incorporated in the state of Ohio and maintains

its principal place of business in Costa Mesa, California. Experian is in the business of compiling

and maintaining files relating to consumers’ credit information bearing on a consumer’s credit

worthiness, credit standing, or credit capacity, and provides consumer reports to third parties.




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                  CREDIT REPORTING, PLAINTIFF’S CREDIT DISPUTES AND RESPONSES

           12.      On February 29, 2016, Plaintiff filed a Chapter 13 bankruptcy in the Northern

District of Illinois (16-06932) and upon successful completion, was granted a Discharge on April

24, 2018.

                     Plaintiff’s Dispute Letters to Equifax, TransUnion and Experian

           13.      Following the discharge of her bankruptcy, Plaintiff discovered that CMECU,

Chase, SLS and Wells Fargo were misreporting the status of accounts to the credit reporting

agencies.

           14.      On or about June 4, 2018, Plaintiff sent a written credit dispute letter to each of the

credit report agencies requesting that her credit files be reviewed and updated to accurately reflect

the subject accounts.1

           15.      Plaintiff’s dispute letter stated, in part, “I have reviewed my credit reports and found

that several accounts are reporting inaccurate information:

                 1) Chicago Municipal Employee- Acct no. 456860300 – This account was
                     paid in full through my case. The balance and payment history is incorrect
                     and should be updated.
                     …
                 I want you to investigate all of the above accounts and contact them separately
                 to update their information. The balance, Monthly payment, payment status,
                 past due amounts, and remarks are all wrong and needs to be updated to reflect
                 a zero in the balance, a zero in the past due amount, and a zero in the monthly
                 payment. You should also correct and update the remarks, payment status, and
                 correct the payment history. Pay status, Comments, and The Max Delinquency
                 should also be corrected. Please note that I am no longer liable for these above
                 accounts and I demand that my credit reports reflect the same. Please send my
                 dispute letter and the enclosures to each of the creditors listed above.”

           16.      Plaintiff’s dispute letter also disputed:



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    Plaintiff mailed the identical dispute letter addressed to Equifax, TransUnion and Experian.

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             1) Chase Auto Account – “This account was NOT included in my case. The
                status ‘included in chapter 13’ needs to be removed as it is inaccurate.
                Please contact Chase and update to reflect the correct and accurate
                information.”
             2) Specialized Loan Services Account – “This account is open and active and
                is not closed. I demand that you reinstate this account to open and current.
                The date of last payment: January 1, 2017 is incorrect and I request that you
                contact them directly and verify that this account is in fact, still open and
                payments are being made.”
             3) Wells Fargo Home Mortgage Account – “This account is open and active
                and is not closed. I demand that you reinstate this account to open and
                current. The date of last payment: January 1, 2017 is incorrect and I request
                that you contact them directly and verify that this.”

       17.      Plaintiff attached all relevant and supporting documents to her dispute letters to

Equifax, TransUnion and Experian.

       18.      Upon information and belief, CMECU, Chase, SLS and Wells Fargo each received

notice of Plaintiff’s dispute letter and all relevant information from Equifax within five days of

Equifax receiving Plaintiff’s dispute letters. See 15 U.S.C. §1681i(a)(2).

                        Equifax’s Failure to Respond to Plaintiff’s Dispute

       19.      Equifax failed to respond to Plaintiff’s June 4, 2018 dispute letter.

                          TransUnion’s Failure to Correct Inaccurate Reporting

a) TransUnion’s failure to correct Chase trade line.

       20.      On or about June 29, 2018, TransUnion responded to Plaintiff’s dispute without

correcting the Chase trade line.

       21.      The TransUnion response revealed that TransUnion failed to investigate the

disputed Chase account information.




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       22.     Despite Plaintiff’s dispute that the Chase account was not included in her

bankruptcy, TransUnion’s response revealed that Chase was now reporting the Chase trade line as

an adverse account with a pay status of “account included in bankruptcy.”

       23.     The reporting of the Chase trade line is patently inaccurate, incomplete, and creates

a materially misleading impression that the account was included in and discharged through

Plaintiff’s bankruptcy. The Chase account was actually not included in Plaintiff’s bankruptcy and

was paid directly by the Plaintiff outside of the bankruptcy and was paid in full by the Plaintiff

outside of the bankruptcy.

b) TransUnion’s failure to correct SLS trade line.

       24.     TransUnion responded to Plaintiff’s dispute without correcting the SLS trade line.

Specifically, TransUnion’s response stated:

               “We investigated the information you disputed and updated: Date
               Updated; Remarks; Rating. Here is how this item appears on your credit
               report following our investigation.”

       25.     The TransUnion response revealed that SLS was now reporting as follows:




       26.     Despite TransUnion’s representation that Plaintiff’s credit account was researched,

TransUnion and SLS were now reporting the account with a “Date Closed: 01/29/2017.”




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        27.    The reporting of the SLS trade line is patently inaccurate, incomplete, and creates

a materially misleading impression that the account was closed on 01/29/2017. The SLS account

is open, paid as agreed, and current.

c) TransUnion’s failure to correct Wells Fargo trade line.

        28.    TransUnion responded to Plaintiff’s dispute without correcting the Wells Fargo

trade line.

        29.    The TransUnion response revealed that TransUnion failed to investigate the

disputed Wells Fargo account information.

        30.    Despite Plaintiff’s dispute that the Wells Fargo account was open and active and

not closed, TransUnion’s response revealed that Wells Fargo was now reporting the Wells Fargo

trade line as an adverse account with a pay status of “account included in bankruptcy” and a “Date

Closed: 06/07/2017.

        31.    The reporting of the Wells Fargo trade line is patently inaccurate, incomplete, and

creates a materially misleading impression that the account was included in and discharged through

Plaintiff’s bankruptcy. The Wells Fargo account was actually paid directly by the Plaintiff outside

of the bankruptcy and the account is open, active, paid as agreed, and current.

                      Experian’s Failure to Correct Inaccurate Reporting

a) Experian’s failure to correct Chase trade line.

        32.    On or about July 8, 2018, Experian responded to Plaintiff’s dispute without

correcting the Chase trade line. Specifically, Experian’s response stated:

               CHASE AUTO 1133402057…. Outcome: Updated – The information you
               disputed has been verified as accurate; however, information unrelated to
               your dispute has been updated.”




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         33.   Despite Experian’s representation that Plaintiff’s Chase account was researched,

Experian and Chase were now reporting the date the debt was included in the Chapter 13

bankruptcy as April 24, 2018. Plaintiff’s date of filing Chapter 13 bankruptcy was February 29,

2016.

         34.   The reporting of the Chase trade line is patently inaccurate, incomplete, and creates

a materially misleading impression that Plaintiff’s Chapter 13 bankruptcy was filed on April 24,

2018. Plaintiff’s Chapter 13 bankruptcy was filed on February 29, 2016 and upon successful

completion, Plaintiff was granted a Discharge on April 24, 2018.

b) Experian’s failure to correct Wells Fargo trade line.

         35.   Experian responded to Plaintiff’s dispute without correcting the Wells Fargo trade

line.

         36.   The Experian response revealed that Wells Fargo was now reporting as follows:




         37.   Despite Experian’s representation that the Wells Fargo account was researched,

Experian and Wells Fargo were now reporting the Wells Fargo account with a status of “discharged

through Bankruptcy Chapter 13” and “debt included in Chapter 13 bankruptcy on Feb. 29, 2016.”

         38.   Despite Plaintiff’s dispute that the Wells Fargo account was open and active and

current, Experian and Wells Fargo were now reporting the Wells Fargo account as a “negative”

account “that [has] been charged off or sent to collection, bankruptcies, liens, and judgments.”



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         39.   The reporting of the Wells Fargo trade line is patently inaccurate, incomplete, and

creates a materially misleading impression that the account was included in and discharged through

Plaintiff’s bankruptcy. The Wells Fargo account was actually paid directly by the Plaintiff outside

of the bankruptcy and the account is open, active, paid as agreed, and current.

        IMPACT OF CONTINUING INCORRECT INFORMATION IN PLAINTIFF’S CREDIT FILE
           (AS TO EQUIFAX, CHICAGO MUNICIPAL EMPLOYEES CREDIT UNION, CHASE,
                    SPECIALIZED LOAN SERVICING, WELLS FARGO BANK)

         40.   On July 23, 2018, Plaintiff pulled her 3-in-1 credit reports to check the accuracy of

the reporting of the disputed accounts.

         41.   Plaintiff discovered that the Equifax reporting of the CMECU account continues to

be inaccurate, incomplete, and creates a materially misleading impression that the account remains

open, past due, and that Plaintiff is still responsible for and obligated to pay a current monthly

amount and a past due amount.

         42.   As of today, the erroneous reporting by Equifax of the CMECU account continues

to paint a false and damaging image of Plaintiff. Equifax and CMECU have yet to update the trade

line to accurately reflect the subject loan is closed, with $0 balance, $0 monthly payment, $0 past

due, paid in full, and discharged through Plaintiff’s Chapter 13 bankruptcy.

         43.    Plaintiff discovered that the Equifax reporting of the Chase account continues to

be inaccurate, incomplete, and creates a materially misleading impression that the account is being

paid under a wage earner’s plan (Chapter 13 bankruptcy plan).

         44.   As of today, the erroneous reporting by Equifax of the Chase account continues to

paint a false and damaging image of Plaintiff. Equifax and Chase have yet to update the trade line

to accurately reflect the subject loan paid as agreed, paid in full, and not paid under a wage earner’s

plan.



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       45.     Plaintiff discovered that the Equifax reporting of the SLS account continues to be

inaccurate, incomplete, and creates a materially misleading impression that the account was closed

with an outstanding balance due.

       46.     As of today, the erroneous reporting by Equifax of the SLS account continues to

paint a false and damaging image of Plaintiff. Equifax and SLS have yet to update the trade line

to accurately reflect the subject loan is open, paid as agreed, and current.

       47.     Plaintiff discovered that the reporting of the Wells Fargo account continues to be

inaccurate, incomplete, and creates a materially misleading impression that the account is closed.

       48.     As of today, the erroneous reporting by Equifax of the Wells Fargo account

continues to paint a false and damaging image of Plaintiff. Equifax and Wells Fargo have yet to

update the trade line to accurately reflect the subject loan is open, paid as agreed, and current.

       IMPACT OF CONTINUING INCORRECT INFORMATION IN PLAINTIFF’S CREDIT FILE
       (AS TO TRANSUNION, CHASE, SPECIALIZED LOAN SERVICING, WELLS FARGO BANK)

       49.     In reviewing her July 23, 2018 3-in-1 credit reports, Plaintiff discovered that the

TransUnion reporting of the Chase account continues to be inaccurate, incomplete, and creates a

materially misleading impression that the account is being paid under a wage earner’s plan

(Chapter 13 bankruptcy plan).

       50.     As of today, the erroneous reporting by TransUnion of the Chase account continues

to paint a false and damaging image of Plaintiff. TransUnion and Chase have yet to update the

trade line to accurately reflect the subject loan paid as agreed, paid in full, and not included in or

discharged through bankruptcy.

       51.     Plaintiff discovered that the TransUnion reporting of the SLS account continues to

be inaccurate, incomplete, and creates a materially misleading impression that the account was

closed with an outstanding balance due.


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       52.     As of today, the erroneous reporting by TransUnion of the SLS account continues

to paint a false and damaging image of Plaintiff. TransUnion and SLS have yet to update the trade

line to accurately reflect the subject loan is open, paid as agreed, and current.

       53.     Plaintiff discovered that the TransUnion reporting of the Wells Fargo account

continues to be inaccurate, incomplete, and creates a materially misleading impression that the

account was closed as of June 7, 2017, and that the account was included in and paid through

Plaintiff’s Chapter 13 bankruptcy.

       54.     As of today, the erroneous reporting by TransUnion of the Wells Fargo account

continues to paint a false and damaging image of Plaintiff. TransUnion and Wells Fargo have yet

to update the trade line to accurately reflect the subject loan is open, paid as agreed, and current.

       IMPACT OF CONTINUING INCORRECT INFORMATION IN PLAINTIFF’S CREDIT FILE
                     (AS TO EXPERIAN, CHASE, WELLS FARGO BANK)

       55.     In reviewing her July 23, 2018 3-in-1 credit reports, Plaintiff discovered that the

Experian reporting of the Chase account continues to be inaccurate, incomplete, and creates a

materially misleading impression that the account was closed as of April 2018, and that the debt

was included in or discharged through the Plaintiff’s Chapter 13 bankruptcy plan.

       56.     As of today, the erroneous reporting by Experian of the Chase account continues to

paint a false and damaging image of Plaintiff. Experian and Chase have yet to update the trade line

to accurately reflect the subject loan paid as agreed, paid in full, and not included in or discharged

through bankruptcy.

       57.     Plaintiff discovered that the Experian reporting of the Wells Fargo account

continues to be inaccurate, incomplete, and creates a materially misleading impression that the

account was closed as of February 2016.




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       IMPACT OF CONTINUING INCORRECT INFORMATION IN PLAINTIFF’S CREDIT FILE
                              (AS TO ALL DEFENDANTS)

       58.      The entire experience has imposed upon Plaintiff significant distrust, frustration,

and distress.

       59.      The inaccurate and incomplete reporting by Equifax of the CMECU, Chase, SLS

and Wells Fargo accounts continues to have adverse effects on Plaintiff’s credit rating because it

creates a false impression that Plaintiff is personally liable for amounts due and past due on the

CMECU account and that Plaintiff failed to pay the Chase, SLS and Wells Fargo loans as agreed.

       60.      The inaccurate and incomplete reporting by TransUnion of the Chase and Wells

Fargo accounts continues to have adverse effects on Plaintiff’s credit rating because it creates a

false impression that Plaintiff failed to pay the Chase and Wells Fargo loans as agreed.

       61.      The inaccurate and incomplete reporting by Experian of the Chase, SLS and Wells

Fargo accounts continues to have adverse effects on Plaintiff’s credit rating because it creates a

false impression that Plaintiff failed to pay the Chase, SLS and Wells Fargo loans as agreed.

       62.      As a result of the conduct, actions, and inaction of each Defendant, Plaintiff has

suffered various types of damages as set forth herein, including specifically, the loss of credit

opportunity, wasted time tracking the status of her dispute, credit report expenses, postage, and

mental and emotional pain and suffering.

       63.      Due to the conduct of the Defendants, Plaintiff was forced to retain counsel to

resolve the erroneous credit reporting of the CMECU, Chase, SLS and Wells Fargo trade lines.




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                  COUNT I - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                   (AGAINST CHICAGO MUNICIPAL EMPLOYEES CREDIT UNION)

          64.   Plaintiff restates and re-alleges paragraphs 1 through 63 as though fully set forth

herein.

          65.   Plaintiff is a “consumer” as the term is defined under 15 U.S.C. §§1681a(c) and

(b).

          66.   CMECU is a “person” as defined by 15 U.S.C. §1681a(b).

          67.   CMECU is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and a

“financial institution” as defined by 15 U.S.C. §1681a(t).

          68.   At all times relevant, the above mentioned credit reports were “consumer reports”

as that term is defined by §1681a(d).

          69.   CMECU violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an

investigation with respect to the disputed information after receiving a request for an investigation

from Equifax and Plaintiff.

          70.   Had CMECU reviewed the information provided by Equifax and Plaintiff, it would

have corrected the inaccurate designation of the CMECU account and transmitted the correct

information to Equifax. Instead, CMECU wrongfully and erroneously verified its inaccurate

reporting without conducting a reasonable investigation.

          71.   CMECU violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the results of

any reasonable investigation or reinvestigation of Plaintiff’s dispute to Equifax.

          72.   CMECU violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to promptly modify,

delete, or permanently block the inaccurate information in Plaintiff’s credit files. Instead, CMECU

continued to report the inaccurate, incomplete, and misleading information in Plaintiff’s credit

files after receiving Plaintiff’s detailed disputes.

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        73.       CMECU failed to conduct a reasonable reinvestigation of its reporting of the

account or delete the inaccurate reporting from Plaintiff’s credit files within 30 days of receiving

notice of Plaintiff’s disputes from Equifax under 15 U.S.C. §1681i(a)(1).

        74.       CMECU violated 15 U.S.C. §1681s-2(b)(2) by failing to take the required action

with respect to Plaintiff by the deadlines set forth in 15 U.S.C. §1681i(a)(1).

        75.       Despite the blatantly obvious errors in Plaintiff’s credit files, and Plaintiff’s efforts

to correct the errors, CMECU did not correct the errors or trade line to report accurately.

        76.       A reasonable investigation by CMECU would have confirmed the veracity of

Plaintiff’s disputes, yet the inaccurate information continues to be reported in Plaintiff’s Equifax

credit files.

        77.       Had CMECU taken steps to investigate Plaintiff’s valid disputes or Equifax’s

requests for investigation, it would have permanently corrected the erroneous credit reporting of

CMECU account. Plaintiff provided all relevant information regarding her disputes in her requests

for investigation.

        78.       By deviating from the standards established by the mortgage servicing industry and

the FCRA, CMECU acted with reckless and willful disregard for its duty as a furnisher to report

accurate and complete consumer credit information to Equifax.

        WHEREFORE, Plaintiff, ELLAWEASE EARLS, respectfully prays this Honorable
Court for the following relief:
        a. Declare that the practices complained of herein are unlawful and violate the
              aforementioned statute;
        b. An order directing CMECU to immediately delete the inaccurate information from
              Plaintiff’s credit reports and credit files;
        c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
              underlying FCRA violations;


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          d. Award Plaintiff statutory damages of $1,000.00 for each violation of the FCRA,
                pursuant to 15 U.S.C. §1681n;
          e. Award Plaintiff punitive damages, in an amount to be determined at trial, for each of
                the underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;
          f. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §1681n
                and 15 U.S.C. §1681o; and
          g. Award any other relief as this Honorable Court deems just and appropriate.

                   COUNT II - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                (AGAINST JPMORGAN CHASE BANK, N.A., D/B/A CHASE AUTO FINANCE)

          79.      Plaintiff restates and re-alleges paragraphs 1 through 63 as though fully set forth

herein.

          80.      Plaintiff is a “consumer” as the term is defined under 15 U.S.C. §§1681a(c) and

(b).

          81.      Chase is a “person” as defined by 15 U.S.C. §1681a(b).

          82.      Chase is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and a

“financial institution” as defined by 15 U.S.C. §1681a(t).

          83.      At all times relevant, the above mentioned credit reports were “consumer reports”

as that term is defined by §1681a(d).

          84.      Chase violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an investigation

with respect to the disputed information after receiving a request for an investigation from Equifax,

TransUnion, Experian and Plaintiff.

          85.      Had Chase reviewed the information provided by Equifax, TransUnion, Experian

and Plaintiff, it would have corrected the inaccurate designation of Chase account and transmitted

the correct information to Equifax, TransUnion and Experian. Instead, Chase wrongfully and

erroneously verified its inaccurate reporting without conducting a reasonable investigation.


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       86.      Chase violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the results of any

reasonable investigation or reinvestigation of Plaintiff’s dispute to Equifax, TransUnion and

Experian.

       87.      Chase violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to promptly modify, delete,

or permanently block the inaccurate information in Plaintiff’s credit files. Instead, Chase continued

to report the inaccurate, incomplete, and misleading information in Plaintiff’s credit files after

receiving Plaintiff’s detailed disputes.

       88.      Chase failed to conduct a reasonable reinvestigation of its reporting of the Chase

account or delete the inaccurate reporting from Plaintiff’s credit files within 30 days of receiving

notice of Plaintiff’s disputes from Equifax, TransUnion and Experian under 15 U.S.C.

§1681i(a)(1).

       89.      Chase violated 15 U.S.C. §1681s-2(b)(2) by failing to take the required action with

respect to Plaintiff by the deadlines set forth in 15 U.S.C. §1681i(a)(1).

       90.      Despite the blatantly obvious errors in Plaintiff’s credit files, and Plaintiff’s efforts

to correct the errors, Chase did not correct the errors or trade line to report accurately.

       91.      A reasonable investigation by Chase would have confirmed the veracity of

Plaintiff’s disputes, yet the inaccurate information continues to be reported in Plaintiff’s Equifax,

TransUnion and Experian credit files.

       92.      Had Chase taken steps to investigate Plaintiff’s valid disputes or requests for

investigation by Equifax, TransUnion and Experian, it would have permanently corrected the

erroneous credit reporting of subject account. Plaintiff provided all relevant information regarding

her disputes in her requests for investigation.




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          93.       By deviating from the standards established by the mortgage servicing industry and

the FCRA, Chase acted with reckless and willful disregard for its duty as a furnisher to report

accurate and complete consumer credit information to Equifax, TransUnion and Experian.

          WHEREFORE, Plaintiff, ELLAWEASE EARLS, respectfully prays this Honorable
Court for the following relief:
          a. Declare that the practices complained of herein are unlawful and violate the
                aforementioned statute;
          b. An order directing Chase to immediately delete the inaccurate information from
                Plaintiff’s credit reports and credit files;
          c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
                underlying FCRA violations;
          d. Award Plaintiff statutory damages of $1,000.00 for each violation of the FCRA,
                pursuant to 15 U.S.C. §1681n;
          e. Award Plaintiff punitive damages, in an amount to be determined at trial, for each of
                the underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;
          f. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §1681n
                and 15 U.S.C. §1681o; and
          g. Award any other relief as this Honorable Court deems just and appropriate.

                     COUNT III - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                             (AGAINST SPECIALIZED LOAN SERVICING LLC)

          94.       Plaintiff restates and re-alleges paragraphs 1 through 63 as though fully set forth

herein.

          95.       Plaintiff is a “consumer” as the term is defined under 15 U.S.C. §§1681a(c) and

(b).

          96.       SLS is a “person” as defined by 15 U.S.C. §1681a(b).

          97.       SLS is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and a

“financial institution” as defined by 15 U.S.C. §1681a(t).


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       98.     At all times relevant, the above mentioned credit reports were “consumer reports”

as that term is defined by §1681a(d).

       99.     SLS violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an investigation

with respect to the disputed information after receiving a request for an investigation from Equifax,

TransUnion and Plaintiff.

       100.    Had SLS reviewed the information provided by Equifax, TransUnion and Plaintiff,

it would have corrected the inaccurate designation of the SLS account and transmitted the correct

information to Equifax and TransUnion. Instead, SLS wrongfully and erroneously verified its

inaccurate reporting without conducting a reasonable investigation.

       101.    SLS violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the results of any

reasonable investigation or reinvestigation of Plaintiff’s dispute to Equifax and TransUnion.

       102.    SLS violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to promptly modify, delete, or

permanently block the inaccurate information in Plaintiff’s credit files. Instead, SLS continued to

report the inaccurate, incomplete, and misleading information in Plaintiff’s credit files after

receiving Plaintiff’s detailed disputes.

       103.    SLS failed to conduct a reasonable reinvestigation of its reporting of the subject

account or delete the inaccurate reporting from Plaintiff’s credit files within 30 days of receiving

notice of Plaintiff’s disputes from Equifax and TransUnion under 15 U.S.C. §1681i(a)(1).

       104.    SLS violated 15 U.S.C. §1681s-2(b)(2) by failing to take the required action with

respect to Plaintiff by the deadlines set forth in 15 U.S.C. §1681i(a)(1).

       105.    Despite the blatantly obvious errors in Plaintiff’s credit files, and Plaintiff’s efforts

to correct the errors, SLS did not correct the errors or trade line to report accurately.




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       106.    A reasonable investigation by SLS would have confirmed the veracity of Plaintiff’s

disputes, yet the inaccurate information continues to be reported in Plaintiff’s Equifax and

TransUnion credit files.

       107.    Had SLS taken steps to investigate Plaintiff’s valid disputes or Equifax’s and

TransUnion’s requests for investigation, it would have permanently corrected the erroneous credit

reporting of the subject account. Plaintiff provided all relevant information regarding her disputes

in her requests for investigation.

       108.    By deviating from the standards established by the lending industry and the FCRA,

SLS acted with reckless and willful disregard for its duty as a furnisher to report accurate and

complete consumer credit information to Equifax and TransUnion.

       WHEREFORE, Plaintiff, ELLAWEASE EARLS, respectfully prays this Honorable
Court for the following relief:
       a. Declare that the practices complained of herein are unlawful and violate the
           aforementioned statute;
       b. An order directing SLS to immediately delete the inaccurate information from
           Plaintiff’s credit reports and credit files;
       c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
           underlying FCRA violations;
       d. Award Plaintiff statutory damages of $1,000.00 for each violation of the FCRA,
           pursuant to 15 U.S.C. §1681n;
       e. Award Plaintiff punitive damages, in an amount to be determined at trial, for each of
           the underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;
       f. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §1681n
           and 15 U.S.C. §1681o; and
       g. Award any other relief as this Honorable Court deems just and appropriate.




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                 COUNT IV - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                             (AGAINST WELLS FARGO BANK, N.A.)

          109.   Plaintiff restates and re-alleges paragraphs 1 through 63 as though fully set forth

herein.

          110.   Plaintiff is a “consumer” as the term is defined under 15 U.S.C. §§1681a(c) and

(b).

          111.   Wells Fargo is a “person” as defined by 15 U.S.C. §1681a(b).

          112.   Wells Fargo is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and

a “financial institution” as defined by 15 U.S.C. §1681a(t).

          113.   At all times relevant, the above mentioned credit reports were “consumer reports”

as that term is defined by §1681a(d).

          114.   Wells Fargo violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct an

investigation with respect to the disputed information after receiving a request for an investigation

from Equifax, TransUnion, Experian and Plaintiff.

          115.   Had Wells Fargo reviewed the information provided by Equifax, TransUnion,

Experian and Plaintiff, it would have corrected the inaccurate designation of the subject account

and transmitted the correct information to Equifax, TransUnion and Experian.

          116.   Wells Fargo violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report the results

of any reasonable investigation or reinvestigation of Plaintiff’s dispute to Equifax, TransUnion

and Experian.

          117.   Wells Fargo violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to promptly modify,

delete, or permanently block the inaccurate information in Plaintiff’s credit files.

          118.   Wells Fargo failed to conduct a reasonable reinvestigation of its reporting of the

subject account or delete the inaccurate reporting from Plaintiff’s credit files within 30 days of

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receiving notice of Plaintiff’s disputes from Equifax, TransUnion and Experian under 15 U.S.C.

§1681i(a)(1).

       119.     Wells Fargo violated 15 U.S.C. §1681s-2(b)(2) by failing to take the required action

with respect to Plaintiff by the deadlines set forth in 15 U.S.C. §1681i(a)(1).

       120.     Despite the blatantly obvious errors in Plaintiff’s credit files, and Plaintiff’s efforts

to correct the errors, Wells Fargo did not correct the errors or trade line to report accurately.

       121.     A reasonable investigation by Wells Fargo would have confirmed the veracity of

Plaintiff’s disputes, yet the inaccurate information continues to be reported in Plaintiff’s Equifax,

TransUnion and Experian credit files.

       122.     Had Wells Fargo taken steps to investigate Plaintiff’s valid disputes or requests for

investigation from Equifax, TransUnion and Experian, it would have permanently corrected the

erroneous credit reporting of subject account. Plaintiff provided all relevant information regarding

her disputes in her requests for investigation.

       123.     By deviating from the standards established by the lending industry and the FCRA,

Wells Fargo acted with reckless and willful disregard for its duty as a furnisher to report accurate

and complete consumer credit information to Equifax, TransUnion and Experian.

       WHEREFORE, Plaintiff, ELLAWEASE EARLS, respectfully prays this Honorable
Court for the following relief:
       a. Declare that the practices complained of herein are unlawful and violate the
           aforementioned statute;
       b. An order directing Wells Fargo to immediately delete the inaccurate information from
           Plaintiff’s credit reports and credit files;
       c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
           underlying FCRA violations;
       d. Award Plaintiff statutory damages of $1,000.00 for each violation of the FCRA,
           pursuant to 15 U.S.C. §1681n;

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          e. Award Plaintiff punitive damages, in an amount to be determined at trial, for each of
             the underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;
          f. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §1681n
             and 15 U.S.C. §1681o; and
          g. Award any other relief as this Honorable Court deems just and appropriate.

                  COUNT V - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                    (AGAINST EQUIFAX)

          124.   Plaintiff restates and re-alleges paragraphs 1 through 63 as though fully set forth

herein.

          125.   Equifax is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f).

          126.   Equifax is a “consumer reporting agency that compiles and maintains files on

consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).

          127.   At all times relevant, the above mentioned credit reports were “consumer reports”

as that term is defined by §1681a(d).

          128.   If a consumer notifies a credit reporting agency of a dispute concerning the

accuracy of any item of credit information, the FCRA requires the credit reporting agency to

reinvestigate free of charge and record the current status of the disputed information, or delete the

item within 30 days of receiving the dispute. 15 U.S.C. §1681i(a)(1)(A).

          129.   Plaintiff provided Equifax with all relevant information in her requests for

investigation and reinvestigation to reflect accurate status of the subject loans.

          130.   Equifax prepared Plaintiff’s consumer reports containing inaccurate, incomplete,

and materially misleading information by reporting the CMECU accounting as open, past due, and

a balance and a monthly payment due when, in fact, the subject loan was paid in full and discharged

through Plaintiff’s Chapter 13 bankruptcy.




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        131.    Equifax prepared Plaintiff’s consumer reports containing inaccurate, incomplete,

and materially misleading information by reporting the Chase loan as having payments made under

the Plaintiff’s Chapter 13 plan when, in fact, the subject loan was not paid through the plan and

was paid in full as agreed by the Plaintiff and closed.

        132.    Equifax prepared Plaintiff’s consumer reports containing inaccurate, incomplete,

and materially misleading information by reporting the SLS loan as closed when, in fact, the

account is open and the payments are current.

        133.    Equifax prepared Plaintiff’s consumer reports containing inaccurate, incomplete,

and materially misleading information by reporting the Wells Fargo loan as closed when, in fact,

the subject loan is open, paid as agreed, and current.

        134.    Equifax violated 15 U.S.C. §1681e(b) by failing to establish or to follow reasonable

procedures to assure maximum possible accuracy in preparation of the consumer reports it

furnished and refurnished as they related to Plaintiff. Equifax prepared patently false, incomplete,

and a materially misleading consumer reports concerning Plaintiff. After Plaintiff’s written

detailed dispute, Equifax had actual knowledge that (a) the CMECU account was paid in full

through Plaintiff’s bankruptcy and Plaintiff no longer owed any payments on the account; (b)

Plaintiff paid the Chase account as agreed and in full outside of her bankruptcy plan; (c) the SLS

account is open, paid as agreed, and current; and (d) the Wells Fargo account is open, paid as

agreed, and current. Nonetheless, Equifax wrongfully reported the accounts.

        135.    Equifax violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable

investigation to determine whether the disputed information was accurate and to then subsequently

delete or correct the information in Plaintiff’s credit file.




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        136.      Had Equifax taken any steps to investigate Plaintiff’s valid disputes, it would have

determined that the subject

        137.      Equifax violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to CMECU. Upon information and belief, Equifax failed to include all relevant

information as part of the notice to CMECU regarding Plaintiff’s dispute that Equifax received

from Plaintiff.

        138.      Equifax violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to Chase. Upon information and belief, Equifax failed to include all relevant

information as part of the notice to Chase regarding Plaintiff’s dispute that Equifax received from

Plaintiff.

        139.      Equifax violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to SLS. Upon information and belief, Equifax failed to include all relevant

information as part of the notice to SLS regarding Plaintiff’s dispute that Equifax received from

Plaintiff.

        140.      Equifax violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to Wells Fargo. Upon information and belief, Equifax failed to include all

relevant information as part of the notice to Wells Fargo regarding Plaintiff’s dispute that Equifax

received from Plaintiff.

        141.      Equifax violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and CMECU with regard to the subject account.

        142.      Equifax violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and Chase with regard to the subject account.




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       143.    Equifax violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and SLS with regard to the subject account.

       144.    Equifax violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and Wells Fargo with regard to the subject

account

       145.    Equifax violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the incorrect

information that was the subject of Plaintiff’s dispute.

       146.    Equifax violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from CMECU that the information was complete and accurate, and without

sending notice of the re-reporting to Plaintiff.

       147.    Equifax violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from Chase that the information was complete and accurate, and without

sending notice of the re-reporting to Plaintiff.

       148.    Equifax violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from SLS that the information was complete and accurate, and without

sending notice of the re-reporting to Plaintiff.

       149.    Equifax violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from Wells Fargo that the information was complete and accurate, and

without sending notice of the re-reporting to Plaintiff.

       150.    Equifax knew that the inaccurate designation of the CMECU account on Plaintiff’s

consumer report as having past due and scheduled payment amounts after the loan was paid and

closed would have a significant adverse effect on Plaintiff’s credit worthiness.




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       151.    Equifax knew that the inaccurate designation of the Chase account on Plaintiff’s

consumer report as having payments made through Plaintiff’s bankruptcy when payments were

made directly by the Plaintiff and the loan was paid in full and closed would have a significant

adverse effect on Plaintiff’s credit worthiness

       152.    Equifax knew that the inaccurate designation of the SLS and Wells Fargo accounts

on Plaintiff’s consumer report as being closed when the loans were paid as agreed and current

would have a significant adverse effect on Plaintiff’s credit worthiness

       153.    Despite actual knowledge that Plaintiff’s credit file contained erroneous

information, Equifax readily made Plaintiff’s inaccurate, incomplete, and misleading report

available and accessible to one or more third parties, thereby misrepresenting facts about Plaintiff

and, ultimately, Plaintiff’s creditworthiness.

       154.    The FCRA requires that the credit reporting industry implement procedures and

systems to promote accurate credit reporting.

       155.    By deviating from the standards established by the credit reporting industry and the

FCRA, Equifax acted with reckless disregard for its duties to report accurate and complete

consumer credit information.

       156.    It is Equifax’s regular business practice to continually report disputed information

without taking the required investigatory steps to meaningfully verify such information as

accurate.

       157.    Equifax’s non-compliance with the requirements of the FCRA is indicative of the

reckless, willful, and wanton nature of its conduct in maintaining Plaintiff’s consumer files and

reporting Plaintiff’s credit information.




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          158.   Equifax’s pattern of refusal to correct patently false information as mandated by

the FCRA reveals a conscious disregard of the rights of the Plaintiff.

          WHEREFORE, Plaintiff, ELLAWEASE EARLS, respectfully prays this Honorable
Court for the following relief:
          a. Declare that the practices complained of herein are unlawful and violate the
             aforementioned statute;
          b. An order directing Equifax to immediately delete the inaccurate information from
             Plaintiff’s credit reports and credit files;
          c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
             underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;
          d. Award Plaintiff statutory damages of $1,000.00 for each of the underlying FCRA
             violations, pursuant to 15 U.S.C. §1681n;
          e. Award Plaintiff punitive damages, in an amount to be determined at trial, for the
             underlying FCRA violations, pursuant to 15 U.S.C. §1681n;
          f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C.
             §1681n(3) and 15 U.S.C. §1681o(2); and
          g. Award any other relief as this Honorable Court deems just and appropriate.

                  COUNT VI - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                   (AGAINST TRANSUNION)

          159.   Plaintiff restates and re-alleges paragraphs 1 through 63 as though fully set forth

herein.

          160.   TransUnion is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f).

          161.   TransUnion is a “consumer reporting agency that compiles and maintains files on

consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).

          162.   At all times relevant, the above mentioned credit reports were “consumer reports”

as that term is defined by §1681a(d).




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       163.    If a consumer notifies a credit reporting agency of a dispute concerning the

accuracy of any item of credit information, the FCRA requires the credit reporting agency to

reinvestigate free of charge and record the current status of the disputed information, or delete the

item within 30 days of receiving the dispute. 15 U.S.C. §1681i(a)(1)(A).

       164.    Plaintiff provided TransUnion with all relevant information in her requests for

investigation and reinvestigation to reflect accurate status of the subject loans.

       165.    TransUnion prepared Plaintiff’s consumer reports containing inaccurate,

incomplete, and materially misleading information by reporting the Chase loan as having payments

made under the Plaintiff’s Chapter 13 plan when, in fact, the subject loan was not paid under the

plan and was paid directly as agreed and paid in full by the Plaintiff.

       166.    TransUnion prepared Plaintiff’s consumer reports containing inaccurate,

incomplete, and materially misleading information by reporting the SLS loan as closed when, in

fact, the account is open and the payments are current.

       167.    TransUnion prepared Plaintiff’s consumer reports containing inaccurate,

incomplete, and materially misleading information by reporting the Wells Fargo loan as closed,

included in and paid through Plaintiff’s Chapter 13 plan when, in fact, the subject loan was not

included in Plaintiff’s bankruptcy and is open, paid as agreed, and current.

       168.    TransUnion violated 15 U.S.C. §1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in preparation of the consumer

reports it furnished and refurnished as they related to Plaintiff. TransUnion prepared patently false,

incomplete, and a materially misleading consumer reports concerning Plaintiff. After Plaintiff’s

written detailed dispute, TransUnion had actual knowledge that (a) Plaintiff paid the Chase account

as agreed and in full outside of her bankruptcy plan; (b) the SLS is open, paid as agreed, and



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current; and (c) the Wells Fargo account was not included in and paid through Plaintiff’s

bankruptcy plan, and is open, paid as agreed by Plaintiff, and current. Nonetheless, TransUnion

wrongfully reported the accounts.

        169.      TransUnion violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable

investigation to determine whether the disputed information was accurate and to then subsequently

delete or correct the information in Plaintiff’s credit file.

        170.      Had TransUnion taken any steps to investigate Plaintiff’s valid dispute, it would

have determined that subject loans were inaccurately reported.

        171.      TransUnion violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to Chase. Upon information and belief, TransUnion failed to include all relevant

information as part of the notice to Chase regarding Plaintiff’s dispute that TransUnion received

from Plaintiff.

        172.      TransUnion violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to SLS. Upon information and belief, TransUnion failed to include all relevant

information as part of the notice to SLS regarding Plaintiff’s dispute that TransUnion received

from Plaintiff.

        173.      TransUnion violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to Wells Fargo. Upon information and belief, TransUnion failed to include all

relevant information as part of the notice to Wells Fargo regarding Plaintiff’s dispute that

TransUnion received from Plaintiff.

        174.      TransUnion violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and Chase with regard to the subject account.




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       175.    TransUnion violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and SLS with regard to the subject account.

       176.    TransUnion violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and Wells Fargo with regard to the subject

account

       177.    TransUnion violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the

incorrect information that was the subject of Plaintiff’s dispute.

       178.    TransUnion violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from Chase that the information was complete and accurate, and without

sending notice of the re-reporting to Plaintiff.

       179.    TransUnion violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from SLS that the information was complete and accurate, and without

sending notice of the re-reporting to Plaintiff.

       180.    TransUnion violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from Wells Fargo that the information was complete and accurate, and

without sending notice of the re-reporting to Plaintiff.

       181.    TransUnion knew that the inaccurate designation of the Chase account on

Plaintiff’s consumer report as having payments made through Plaintiff’s bankruptcy when

payments were made directly by the Plaintiff and the loan was paid in full and closed would have

a significant adverse effect on Plaintiff’s credit worthiness.

       182.    TransUnion knew that the inaccurate designation of the SLS and Wells Fargo

accounts on Plaintiff’s consumer report as being closed when the loans were open, paid as agreed,

and current would have a significant adverse effect on Plaintiff’s credit worthiness



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       183.    Despite actual knowledge that Plaintiff’s credit file contained erroneous

information, TransUnion readily made Plaintiff’s inaccurate, incomplete, and misleading report

available and accessible to one or more third parties, thereby misrepresenting facts about Plaintiff

and, ultimately, Plaintiff’s creditworthiness.

       184.    The FCRA requires that the credit reporting industry implement procedures and

systems to promote accurate credit reporting.

       185.    By deviating from the standards established by the credit reporting industry and the

FCRA, TransUnion acted with reckless disregard for its duties to report accurate and complete

consumer credit information.

       186.    It is TransUnion’s regular business practice to continually report disputed

information without taking the required investigatory steps to meaningfully verify such

information as accurate.

       187.    TransUnion’s non-compliance with the requirements of the FCRA is indicative of

the reckless, willful, and wanton nature of its conduct in maintaining Plaintiff’s consumer files and

reporting Plaintiff’s credit information.

       188.    TransUnion’s pattern of refusal to correct patently false information as mandated

by the FCRA reveals a conscious disregard of the rights of the Plaintiff.

       WHEREFORE, Plaintiff, ELLAWEASE EARLS, respectfully prays this Honorable
Court for the following relief:
       a. Declare that the practices complained of herein are unlawful and violate the
           aforementioned statute;
       b. An order directing TransUnion to immediately delete the inaccurate information from
           Plaintiff’s credit reports and credit files;
       c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
           underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;


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          d. Award Plaintiff statutory damages of $1,000.00 for each of the underlying FCRA
             violations, pursuant to 15 U.S.C. §1681n;
          e. Award Plaintiff punitive damages, in an amount to be determined at trial, for the
             underlying FCRA violations, pursuant to 15 U.S.C. §1681n;
          f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C.
             §1681n(3) and 15 U.S.C. §1681o(2); and
          g. Award any other relief as this Honorable Court deems just and appropriate.

                 COUNT VII - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                    (AGAINST EXPERIAN)

          189.   Plaintiff restates and re-alleges paragraphs 1 through 63 as though fully set forth

herein.

          190.   Experian is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f).

          191.   Experian is a “consumer reporting agency that compiles and maintains files on

consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).

          192.   At all times relevant, the above mentioned credit reports were “consumer reports”

as that term is defined by §1681a(d).

          193.   If a consumer notifies a credit reporting agency of a dispute concerning the

accuracy of any item of credit information, the FCRA requires the credit reporting agency to

reinvestigate free of charge and record the current status of the disputed information, or delete the

item within 30 days of receiving the dispute. 15 U.S.C. §1681i(a)(1)(A).

          194.   Plaintiff provided Experian with all relevant information in her requests for

investigation and reinvestigation to reflect accurate status of the subject loans.

          195.   Experian prepared Plaintiff’s consumer reports containing inaccurate, incomplete,

and materially misleading information by reporting the Chase loan as having payments made under




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the Plaintiff’s Chapter 13 plan when, in fact, the subject loan was not in included in or discharged

through Plaintiff’s bankruptcy plan, and was paid directly as agreed and paid in full by the Plaintiff.

        196.    Experian prepared Plaintiff’s consumer reports containing inaccurate, incomplete,

and materially misleading information by reporting the Wells Fargo loan as closed and included

in or discharged through Plaintiff’s bankruptcy when, in fact, the subject loan is open, paid as

agreed, and current.

        197.    Experian violated 15 U.S.C. §1681e(b) by failing to establish or to follow

reasonable procedures to assure maximum possible accuracy in preparation of the consumer

reports it furnished and refurnished as they related to Plaintiff. Experian prepared patently false,

incomplete, and a materially misleading consumer reports concerning Plaintiff. After Plaintiff’s

written detailed dispute, Experian had actual knowledge that (a) the Chase account was not

included in or discharged through Plaintiff’s bankruptcy, but rather Plaintiff paid the Chase

account as agreed and in full outside of her bankruptcy plan; and (b) the Wells Fargo account was

not included in and paid through Plaintiff’s bankruptcy plan, but rather is open, paid as agreed by

Plaintiff, and current. Nonetheless, Experian wrongfully reported the accounts.

        198.    Experian violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable

investigation to determine whether the disputed information was accurate and to then subsequently

delete or correct the information in Plaintiff’s credit file.

        199.    Had Experian taken any steps to investigate Plaintiff’s valid dispute, it would have

determined that subject loans were inaccurately reported.

        200.    Experian violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to Chase. Upon information and belief, Experian failed to include all relevant




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information as part of the notice to Chase regarding Plaintiff’s dispute that Experian received from

Plaintiff.

        201.   Experian violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of

Plaintiff’s dispute to Wells Fargo. Upon information and belief, Experian failed to include all

relevant information as part of the notice to Wells Fargo regarding Plaintiff’s dispute that Experian

received from Plaintiff.

        202.   Experian violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and Chase with regard to the subject account.

        203.   Experian violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all

relevant information that it received from Plaintiff and Wells Fargo with regard to the subject

account

        204.   Experian violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the

incorrect information that was the subject of Plaintiff’s dispute.

        205.   Experian violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from Chase that the information was complete and accurate.

        206.   Experian violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed information

without certification from Wells Fargo that the information was complete and accurate.

        207.   Experian knew that the inaccurate designation of the Chase account on Plaintiff’s

consumer report as having payments made through Plaintiff’s bankruptcy when payments were

made directly by the Plaintiff and the loan was paid in full and closed would have a significant

adverse effect on Plaintiff’s credit worthiness.




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       208.    Experian knew that the inaccurate designation of the Wells Fargo account on

Plaintiff’s consumer report as being closed when the loan was open, paid as agreed and current

would have a significant adverse effect on Plaintiff’s credit worthiness.

       209.    Despite actual knowledge that Plaintiff’s credit file contained erroneous

information, Experian readily made Plaintiff’s inaccurate, incomplete, and misleading report

available and accessible to one or more third parties, thereby misrepresenting facts about Plaintiff

and, ultimately, Plaintiff’s creditworthiness.

       210.    The FCRA requires that the credit reporting industry implement procedures and

systems to promote accurate credit reporting.

       211.    By deviating from the standards established by the credit reporting industry and the

FCRA, Experian acted with reckless disregard for its duties to report accurate and complete

consumer credit information.

       212.    It is Experian’s regular business practice to continually report disputed information

without taking the required investigatory steps to meaningfully verify such information as

accurate.

       213.    Experian’s non-compliance with the requirements of the FCRA is indicative of the

reckless, willful, and wanton nature of its conduct in maintaining Plaintiff’s consumer files and

reporting Plaintiff’s credit information.

       214.    Experian’s pattern of refusal to correct patently false information as mandated by

the FCRA reveals a conscious disregard of the rights of the Plaintiff.

       WHEREFORE, Plaintiff, ELLAWEASE EARLS, respectfully prays this Honorable
Court for the following relief:
       a. Declare that the practices complained of herein are unlawful and violate the
            aforementioned statute;


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       b. An order directing Experian to immediately delete the inaccurate information from
          Plaintiff’s credit reports and credit files;
       c. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
          underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;
       d. Award Plaintiff statutory damages of $1,000.00 for each of the underlying FCRA
          violations, pursuant to 15 U.S.C. §1681n;
       e. Award Plaintiff punitive damages, in an amount to be determined at trial, for the
          underlying FCRA violations, pursuant to 15 U.S.C. §1681n;
       f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15 U.S.C.
          §1681n(3) and 15 U.S.C. §1681o(2); and
       g. Award any other relief as this Honorable Court deems just and appropriate.


Plaintiff demands a trial by jury.

Dated: September 18, 2018                                Respectfully Submitted,
                                                         /s/ Majdi Y. Hijazin
                                                         Majdi Y. Hijazin, Of Counsel
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